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 Shawn M. Rideout
 Reg. No. 55659-060
 Federal Correctional     Institution
 State Route 716
 Ashland, Kentucky
 41105
                           "




                               IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MARYLAND
                                        (NORTHERN DIVISION)



 JANE DOE,                                        ~
        Plaintiff                                 ~    Civ. No. l:l4-cv-OlllO-MJG
                                                  ~
                                                  ~
v.                                                ~   Motion    to Dismiss.
                                                  ~
                                                  ~   18 USCS ~     2255
                                                  ~   28 USCS ~     2462
SHAWN M. RIDEOUT,                                 ~   Fed.Rules     Civ.P. 8(c)(I)
       Defendant                                  ~   Fed.Rules     Civ.P. 12(b)(I)---(5)
--------------~


                                       MOTION TO DISMISS


TO THE HONORABLE     UNITED STATES DISTRICT        JUDGE MARVIN    J. GARBIS:

      COMES NOW, the defendant         herein SHAWN M. RIDEOUT,          by special appearance      in

propria   persona,   and respectfully     requests    this Honorable       Court to apply liberal

construction     to this instant motion        (including    all subsequent      pleadings,    if any)

in conformance     with the Supreme Court of the United           States holdings      in Haines v.

Kerner,   410 US 519, 520, 30 L Ed 2d 652, 92 S Ct 594 (1972) (and the jurisprudence

thereunder     as applicable     to the unrepresented       litigant),   which    states:

            "[T]he allegations of the pro se complaint, [... ] we hold to less
      stringent standards than formal pleadings drafted by lawyers[.]"
                     (end quote Haines v. Kerner).

      Accordingly,     Rideout     requests    the following    relief from this Court:

                                         Relief Sought

      Rideout moves this Honorable            Court to enter an ORDER dismissing            the above


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  entitled         and numbered       action under the points of law delineated           infra, to wit:

             a.      Insufficient       process   and service thereunder     pursuant     to Rules 4(m),

  and 12(b)(4) and (5) of the Federal Rules of .Civil Procedure;
                                                                I



             b.      Failure to timely prosecute          in violation    of the relevant      statutes        of

  limitations,         having been exceeded          and therefore    depriving    the Court of subject

  matter jurisdiction            under Rules 8(c)(I),       and 12(b)(I)    of the Federal Rules of

  Civil Procedure,            18 USCS   9 2255, and 28 USCS 9 2462 [relating to 18 USCS 9 2252A

  subsection         (f)]; and

             c.      Lack of personal      jurisdiction     under Maryland's       "long-arm   statute"        [Md.

 Code Ann., Cts.            & Jud. Proc. 9 6-103(b)(I)        and (3)], wherein       Rideout neither

 transacted         "business,"       nor directly    or through an agent caused any tortious              act

 in the state of Maryland.

             Additionally,       Rideout moves     this Honorable     Court to SEAL this case in the

 interest         of justice,     while he is serving his sentence          of incarceration,       due to

 the nature of the complaint               [if viewed on the LEXIS NEXUS Institutional              Law

 Library       publication      system] and its high potential           to incite other inmates          to

 inflict       substantial      mental and emotional       trauma,    severe physical     harm, or even
         1
 death.           Keeping    this action unsealed       and subject    to publication    would amount to

 an act of deliberate            indifference      and/or willful     negligence    to Rideout's    personal

 safety.

                                             Procedural   Backround

          Plaintiff         brought   this complaint-ostensibly        on behalf    of her two (2) young
                                                                                                               2
 children-against            the defendant    by filing an action in this Court on 20 May 2014 •

Within       the complaint       on file at p. 1: caption,          opening paragraph,    and n. 2, p. 3,

'1'1 7-9, the defendant           is identified      as Shawn M. Rideout,      under the custody and


 1.   As can be ascertained from the defendant's criminal sentencing transcripts during his allocution
      [Fed.Rules Crim.P. 32(i)(4)(A)(ii)], Shawn M. Rideout, is/was a victim of child molestation/abuse
      for many years at the hands of two (2) ~le family members (i.e., uncles) starting from the age
      of 8 years old. See, United States of America v. Shawn M. Rideout, No. 1:08-cr-00332 (N.D. Ohio
      2008). The defendant has never been professionally treated or counseled as to his. traumatic
      experiences and is prone to post-traumatic stress episodes.

2.    See, 18 USCS     9 2255; and 28 USCS 9 2462.
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     control of the Federal Bureau of Prisons                        ("FBOP") under register number 55659-060,

     and currently warehoused                 at the Federal Correctional        Institution    located on State

     Route 715 [P.O. Box 6001], in the city of Ashland,                        Kentucky    [ZIP: 41105-6001].

     Having known the defendant's                   whereabouts      at the time of filing, coupled with the

     fact that the defendant's                 location     is a matter of public information       via the In-

     mate Locator on the FBOP's website                     (www.bop.gov),    the Plaintiff    elected to wait
                                       3
     210-days or 213-days                  before attempting       to serve process.

                                                      Grounds on Motion

              The motion of Shawn M. Rideout respectfully                    shows:

     1.       That the defendant             is filing this instant Motion        to Dismiss by special

     appearance       in order to contest the Plaintiff's                 assertions     that this Court has

     subject matter and/or personal                   jurisdiction     over the defendant.

 2.           Rule 4(m) of the Federal Rules of Civil Procedure                       states that service of

 process must be completed                     on the defendant within       120 days, unless for good cause

 shown for the failure, the Court must extend the time for service for an appro-

 priate period.

 3.          As noted herein and in the initial complaint                    filed by the plaintiff,    the

 defendant's              whereabouts       have been known since the time of the initial complaint's

 filing on 20 May 2014.                     The defendant        is in the custody of the United States

government           and his address is a matter of public record.

4.           Plaintiff       cannot show this Court good cause as to why the time must be ex-

tended beyond the 120 days provided                         for service under Fed.Rules       Civ.P. 4(m) and

therefore           service of process is defective                 and the Court must dismiss the action.

5.           18 USCS ~ 2255(b) provides:

                  "Statute of limitations.  Any action commenced under this section shall
            be barred unless the complaint is filed within 10 years after the right of
            action first accrues or in the case of a person under a legal disability,
            not later than three years after the disability[.]"
                            (end quote 18 USCS ~ 2255(b».

3.        See Fed.Rules     Civ.P.   4(m) and 12(b)(4),   (5).

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        6.    As can be readily determined            by the conviction    and sentence     in United States

       v. Shawn M. Rideout, No. 1:08-cr-00332              (N.D. Ohio 2008), in or about July of 2008

       defendant was arrested and incurred a legal disability                 from that time period to

       the present.         This represents    a total period of 78 months       and is well in excess

       of the three-year        statute of limitations       provided under     18 USCS ~ 2255(b).       Thus,

       this Court is divested of subject matter jurisdiction                 and the plaintiff     is time-

       barred from seeking relief under this statute.

       7.     18 USCS ~ 2252A(f) establishes            civil remedies    for any person aggrieved       by

i ~
       reason of the conduct prohibited            under subsection      (a) may commence    a civil action

       for relief by way of:

             a.        Temporary,   preliminary,   or permanent    injunctive    relief;

             b.        Compensatory    and punitive    damages; and

             c.        The cost of the civil action and reasonable           fees for attorneys    and

       expert witnesses.

       8.    28 USCS ~ 2462 provides          the time for commencing      proceedings     which states:

                   "Except as otherwise provided by Act of Congress, an action, suit,
             or proceeding for the enforcement of any civil fine, penalty, or forfeiture,
             pecuniary or otherwise, shall not be~ entertained unless commenced within
             five years from the date when the claim first accrued if, within the same
             period, the offender or the property is found within the United States in
             order that proper service be made thereon.
                             (end quote 28 USCS ~ 2462).

      9.     As noted herein at point 6, ante, the claim first accrued                in or about July

      2008 some 71 months from the date of the filing of the initial complaint                     by the

      plaintiff        in this case and is therefore       time-barred    as having exceeded     the statute

      of limitations        provided   for civil actions under 28 USCS ~ 2462.             18 USCS ~ 2252A(f)

      does not establish        any limitations       period and therefore    any action thereunder        is

      subject to the restrictions          of 28 USCS ~ 2462.

      10.    The defendant      is not in possession       of the statutes    and laws of the State

      of Maryland       and must therefore     rely on the averments      found in the initial complaint

      at p, 3,    ,r   11 (citing Md. Code Ann., Cts. & Jud. Proc. ~ 6-103(b)(1),              (3)).


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 11.    Plaintiff     also asserts the Due Process Clause of the XIV article of amend-

 ment of the United States Constitution.                 Rao v. Era Alaska Airlines,    2014 U.S.

 Dist. LEXIS 72287 (D.C. Md. May 28, 2014):

              "To satisfy the constitutional due process requirement, a defendant
       must have sufficient 'minimum contacts' with the forum state such that
        'the maintenance of the suit does not offend traditional notions of fair
       play and substantial justice.'     Int'l Shoe Co. v. Washington, 326 U.S. 310,
       316, 66 S Ct 154, 90 L Ed 95 (1945) (quotation and citation omitted).     The
       minimum contacts test requires the plaintiff to show that the defendant
        'purposely directed his activities at the residents of the forum' and that
       the plaintiff's cause of action 'arise[s] out of' those activities.     Burger
       King Corp. v. Rudzewicz, 471 US 462, 472, 105 S Ct 2174, 85 L Ed 2d 528
        (1985) (citation and quotation omitted).   This test is designed to ensure
       that the defendant is not 'haled into a jurisdiction solely as a result of
       random, fortuitous, or attenuated contacts.' Burger King, 471 US at 475
       (quotations and citations omitted).     It protects a defendant from having
       to defend himself in a forum where he should not have anticipated being
       sued. See World-Wide Volkswagen Corp. v. Woodson, 444 US 286, 297, ~OO S
       Ct 559, 62 L Ed 2d 490 (1980). Consulting Eng'rs Corp. v. Geometric Ltd.,
       561 F.3d 273 (4th Cir. 2009)."
                        (end quote Rao v. Era Alaska Airlines).

       See also ALS Scan, Inc. v. Digital            Service Consultants,     Inc., 293 F.3d 707,

712-714     (4th Cir. 2002):

             "[T]he court concluded that 'the likelihood that personal jurisdiction
       can be constitutionally exercised is directly proportionate to the nature
       and quality of commercial activity that an entity conducts over the Inter-
       net.'   952 F. Supp. at 1124. Recognizing a ~sliding scal~;t for defining
       when electronic contacts with a State are suffici~nt, the court elaborated[.]"

       [.   .   .]

             "If we were to conclude as a general principle that a person's act of
       placing information on the Internet subjects that person to personal juris-
       diction in each State in which the information is accessed, then the defense
       of personal jurisdiction, in the sense that a State has geographically lim-
       ited power, would no longer exist.    The person placing information on the
       Internet would be subject to personal jurisdiction in every state."
                        (end quote ALS Scan, Inc. v. Digital Service Consultants,Inc.).

12.    With respect to Maryland's           "Long-Arm"    Statute,   there are six enumerated   con-

tacts with the State that include:

       a.       business    transactions;

       b.       contracts    to supply goods, food, services,        or manufactured   products;

       c.       causing tortious injury by an act or omission           that occurs in the State;


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         d.     causing tortious     injury by an act or omission          outside the State if

  certain minimum      contacts with the State are maintained;

         "e.    interest or use of real property        in the State; or

         f.     entering into any contracts        to insure or act as surety for, or on,

 any person, property,         risk, contract,     obligation,     or agreement    located,    executed,

 or to be performed         within the State.      Md. Code Ann., Cts. & Jud. Proc. ~ 6-103(b).

 13.     The rules of ejusdem generis and noscitur            a sociis establish        that Maryland's

 "Long-Arm"      Statute applies    to commercial     business    transactions     only and does not

 contemplate      random, fortuitous,     or attenuated    contacts      of a non-contractual         and

 non-commercial      nature.     The complaint     specifically    cites Section 6-103(b) (1) and

 (3).     However,   the defendant's    activities     were not subject to the Uniform           Electr-

 onic Transactions      Act ("UETA") nor the Uniform          Computer    Information     Transactions

 Act ("UCITA").       Both the UETA and UCITA establish           cyberlaw    for transacting     and

 contracting     business     on the Internet and both acts have been adopted               in Maryland

 and Ohio.      Therefore,     the defendant neither     contracted      nor conducted    any business,

 and in-turn, did not directly or through the use of any agent cause tortious

 injury to the plaintiff        or her children.

 14.    The legal definition       of "business"    as found in Black's Law Dictionary,               9th

Ed., (c) 2009 Thomson Reuters,          only contemplates        commercial    transactions     and

does not apply itself to matters          that are purely for personal           inquiry.     Accord,

Anderson's      Law Dictionary,     (c) 2009, Anderson's      Publishing;      Ballentine's    Law

Dictionary,      (c) 1969, The Lawyers     Co-operative    Publishing        Company;   and Webster's

Unabridged      Dictionary,    (c) 2001, Random House, Inc.

15.     The defendant's      conduct as alleged in the plaintiff's            complaint   falls outside

the jurisdictional      hook, wherein no business        transaction      is conducted      or contem-

plated that invokes Section 6-103(b)(I)            and (3).

16.     Rideout had no direct contact with the victims'             abusers,     solicited    no offers,

did not provide or request for any consideration,                and no meeting     of the minds


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 occurred between       Rideout and the abusers of plaintiff's           children.      In other words,

 no contractual      relationship    was formed in any capacity         recognized     under the law

 so as to invoke the jurisdictional             laws of the State of Maryland        into another

 State's, or even the Federal, forum.

 17.    Moreover,     Rideout did not at any point in time establish              a relationship       of

 agency with anyone pursuant         to the Restatement        (Second) of Agency,     either by word,

 action, deed, or course of conduct, and thereby commit a tortious                    act (directly or

 otherwise)    within   the State of Maryland.

                                            Conclusion

 18.    The action instituted       by the plaintiff        against   Shawn M. Rideout cannot be

 prosecuted    past the relevant      statute of limitations,         nor can plaintiff     establish

 good cause for defective       and/or excessive       delay in service of process        of the

 summons and complaint      on the defendant       some seven (7) months      after initial filing.

 19.   Rideout    is not subject to the jurisdiction            and venue of the United       States

District     Court for the District      of Maryland       under the provisions      of the inapplic-

able Maryland     "Long-Arm"Statute,       and the Court's subject matter            jurisdiction    has

been divested     at the expiration     of the statute of limitations          established    under

18 USCS ~ 2255 and 28 USCS ~ 2462 (applicable               to 18 USCS ~ 2252A(f».

20.    In lieu of the above, and pursuant            to Rules 8(c)(1) and 12(b)(1)---(5),

this Honorable      Court is mandated    to dismiss plaintiff's         action with prejudice        on

this defendant.


       WHEREFORE,    PREMISES     CONSIDERED,    Shawn M. Rideout respectfully         requests     this

Honorable     Court to issue relevant ORDERS directing:

       a.      that plaintiff's     complaint    against    the defendant   be dismissed with

prejudice;

       b.     that the action be stricken         from the Court's active      docket;

       c.     that the case be SEALED and UNPUBLISHED            in the interest      of justice;

and

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         d.     granting all relief to which Rideout is entitled.


         DATED:    30 December 2014
                   Ashland, Kentucky
                                                Respectfully submitted,


                                                 ~~~/.




                                                SHAWN M. RIDEOUT
                                                Reg. No. 55659-060
                                                FEDERAL CORRECTIONAL INSTITUTION
                                                P.O. BOX 6001
                                                ASHLAND, KY 41105-6001

                                                DEFENDANT, Pro Se




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                              Certificate    of Service

        I, Shawn M. Rideout, certify under the penalty of perjury pursuant to title
 28 USCS ~ 1746, that I placed a copy of the original Motion to Dismiss attached
 hereto, into the Inmate Outgoing Mail system with prepaid first class U.S. Postage
 affixed thereto on this j.)j),  day of Jer/JUtZ,?-                    ' 20 I {-, for
 delivery and filing to the following addressee~

       Clerk of the Court
       United States District Court
       District of Maryland
       Northern Division
       101 Lombard Street
       Baltimore, MD 21201-2606

       Steven J. Kelly
       Silverman Thompson Slutkin   &   White, LLC
       201 North Charles Street
       Suite 2600
       Baltimore, MD 21201

                                                ~~~
                                                SHAWN M. RIDEOUT   ~
                                                Reg. No. 55659-060




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